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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                 )
    UNITED STATES OF AMERICA,                    )
                                                 )       Criminal No. 1:22-cr-00200-APM
                        v.                       )
                                                 )
    PETER K. NAVARRO,                            )
                                                 )
                   Defendant.                    )
                                                 )


                              MOTION FOR LEAVE TO TRAVEL

          Defendant Dr. Peter K. Navarro, by and through the undersigned counsel, hereby

respectfully moves this Court for an Order permitting him to travel internationally to receive

medical treatment. Although defense counsel has yet to receive a response to its inquiry of the

government as to its position with respect to the relief Dr. Navarro seeks, 1 defense counsel

nevertheless submits the foregoing motion due to the imminency of Dr. Navarro’s anticipated

travel.

          On June 3, 2023, the Court entered an Order Setting the Conditions of his Release, which

included the requirement that the Court is to approve all travel outside the continental United

States. Order (June 3, 2022) (ECF No. 9). On September 6, 2023, a Jury Trial commenced in this

matter, which concluded on September 7, 2023, with convictions as to all counts. At that time, the

Court again released Dr. Navarro on personal recognizance and ordered that the conditions

imposed by the Court’s June 3, 2022 Order would remain in effect.




1
 In fairness to government counsel, defense counsel emailed government counsel only
yesterday, October 5, 2023, at 12:09pm.
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       Accordingly, Dr. Navarro respectfully requests this Court issue an Order permitting him to

travel outside of the continental United States between October 15, 2023 and October 23, 2023.

                              [SIGANTURE ON NEXT PAGE]
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Dated: October 6, 2023           Respectfully submitted,

                                        /s/ Stanley E. Woodward, Jr.
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                                 Counsel for Defendant Dr. Peter K. Navarro
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on October 6, 2023, a true and correct copy of the

foregoing was electronically served on all registered parties.

                                            Respectfully submitted,

                                                   /s/ Stanley E. Woodward, Jr.
                                            Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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